     Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 1 of 44




                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NEW YORK


ANTONIO CABALLERO,

                        Plaintiff,

     v.
                                          Civil Case No. 20-MC-00040-LJV
FUERZAS ARMADAS REVOLUCIONARIAS      DE
COLOMBIA, ET AL.,

                       Defendants.




     STATEMENT OF INTEREST OF THE UNITED STATES OF AMERICA
           Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 2 of 44




                                                TABLE OF CONTENTS

INTRODUCTION................................................................................................................... 1

BACKGROUND..................................................................................................................... 4

          A.        STATUTORY BACKGROUND....................................................................... 4

                    1.         The Foreign Sovereign Immunities Act. ................................................. 4

                    2.         The Terrorism Risk Insurance Act of 2002. ............................................ 6

          B.        FACTUAL AND PROCEDURAL BACKGROUND......................................... 7

ANALYSIS............................................................................................................................. 9

I.        BECAUSE TRIA DOES NOT PROVIDE AN INDEPENDENT BASIS FOR
          SUBJECT-MATTER JURISDICTION AGAINST AN AGENCY OR
          INSTRUMENTALITY OF A FOREIGN STATE THAT IS NOT A STATE
          SPONSOR OF TERRORISM, ANY GRANT OF JURISDICTION MUST BE
          PROVIDED IN THE FSIA........................................................................................... 9

          A.        The FSIA is the exclusive basis for subject-matter jurisdiction over foreign
                    states, including their assets or instrumentalities, and such states are
                    immune from court jurisdiction unless a specific exception to
                    jurisdictional immunity applies........................................................................ 10

          B.        TRIA—which eliminates attachment immunity in situations to which it
                    applies—does not displace the requirement for an exception to
                    jurisdictional immunity in this case.................................................................. 11

          C.        Caballero’s argument that an attachment action is an in rem or quasi-in-
                    rem proceeding to which the FSIA does not apply is not consistent with
                    the FSIA. ........................................................................................................ 23

II.       FSIA’S SERVICE PROVISIONS APPLY TO POST-JUDGMENT
          EXECUTION ACTIONS AGAINST A FOREIGN STATE’S ASSETS WHERE
          THE FOREIGN STATE IS NOT THE JUDGMENT DEBTOR................................... 24

          A.        FSIA sets out the process by which foreign states, including their agencies
                    or instrumentalities, are served with judicial process. ....................................... 24

          B.        Post-judgment execution actions require service to third parties whose
                    assets are subject to attachment........................................................................ 25

          C.        Requiring service of process pursuant to section 1608 accords with
                    principles of international comity that ultimately benefit the people of the
                    United States................................................................................................... 28
                                                                   i
           Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 3 of 44




III.      WHILE THE UNITED STATES DOES NOT TAKE A POSITION AS TO
          WHETHER TRIA REQUIRES THAT A TERRORIST PARTY ITSELF HAVE
          AN OWNERSHIP INTEREST IN THE BLOCKED PROPERTY SUBJECT TO
          ATTACHMENT, IT DOES TAKE THE POSITION THAT TRIA DOES NOT
          APPLY TO AGENCIES OR INSTRUMENTALITIES OF STATES THAT ARE
          NOT STATE SPONSORS OF TERRORISM.............................................................. 29

          A.        TRIA requires an ownership interest in the property to be executed upon.......... 29

          B.        The Second Circuit’s interpretation of the “agency or instrumentality” in
                    Kirschenbaum should not extend to the agencies or instrumentalities of
                    foreign states that have not been designated as state sponsors of terrorism......... 31

CONCLUSIONS ................................................................................................................... 36




                                                                ii
           Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 4 of 44




                                            TABLE OF AUTHORITIES
CASES

Am. Ins. Ass’n v. Garamendi,
 539 U.S. 396 (2003)........................................................................................................... 22

Aquamar, S.A. v. Del Monte Fresh Produce, N.A., Inc.,
  179 F.3d 1279 (11th Cir. 1999)........................................................................................... 28

Argentine Repub. v. Amerada Hess Shipping Corp.,
  488 U.S. 428 (1989)....................................................................................................... 4, 10

Astoria Fed. Sav. & Loan Ass’n v. Solimino,
  501 U.S. 104 (1991)........................................................................................................... 31

Bennett v. Islamic Repub. of Iran,
  618 F.3d 19 (D.C. Cir. 2010), abrogated on other grounds by
  Rubin v. Islamic Republic of Iran, 138 S. Ct. 816 (2018) ................................................... 6, 7

Bennett v. Islamic Republic of Iran,
  825 F.3d 949 (9th Cir. 2016) .............................................................................................. 30

Billiouri v. Wells Fargo Bank N.A.,
  No. 3:15-cv-2664-L, 2022 WL 2992880 (N.D. Tex. July 28, 2022)...................................... 23

Bd. of Trs. of the Leland Stanford Junior Univ. v. Roche Molecular Sys., Inc.,
  563 U.S. 776 (2011)........................................................................................................... 30

C.G. Holdings, Inc. v. Rum Jungle, Inc.,
  852 F. Supp. 2d 582 (E.D.N.Y. 2008) ................................................................................. 17

Caballero v. Fuerzas Armadas Revolucionarias de Colombia,
 562 F. Supp. 3d 867 (C.D. Cal. 2021) ................................................................................. 23

Caballero v. Fuerzas Armadas Revolucionarias de Colombia,
 No. 18-cv-25337-KMM, 2020 WL 7481302 (S.D. Fla. May 20, 2020)................................... 7

Calderon-Cardona v. Bank of N.Y. Mellon,
  770 F.3d 993 (2d Cir. 2014) ............................................................................................... 30

Clodfelter v. Rep. of Sudan,
  720 F.3d 199 (4th Cir. 2013) .............................................................................................. 21

Colonial Press Int’l, Inc. v. United States,
  788 F.3d 1350 (Fed. Cir. 2015)........................................................................................... 35

Crystallex International Corp. v. Bolivarian Rep. of Venezuela,
  932 F.3d 126 (3d Cir. 2019) ......................................................................................... 15, 16

                                                                iii
           Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 5 of 44




CSX Transp., Inc. v. Island Rail Terminal, Inc.,
  879 F.3d 462 (2d Cir. 2018) ............................................................................................... 27

Dupuch-Carron v. Sec’y of Health & Human Servs.,
 969 F.3d 1318 (Fed. Cir. 2020)........................................................................................... 35

Ellis v. United States,
  206 U.S. 246 (1907)........................................................................................................... 30

Epperson v. Ent. Express, Inc.,
  242 F.3d 100 (2d Cir. 2001) ............................................................................................... 17

FG Hemisphere Assocs., LLC v. Dem. Rep. of Congo,
 447 F.3d 835 (D.C. Cir. 2006) ............................................................................................ 26

First National City Bank v. Banco Para El Comercio Exterior de Cuba,
  462 U.S. 611 (1983)........................................................................................................... 16

Flores-Figueroa v. United States,
  556 U.S. 646 (2009)........................................................................................................... 30

Griffin v. Oceanic Contractors, Inc.,
 458 U.S. 564 (1982)........................................................................................................... 34

Hausler v. J.P. Morgan Chase Bank, N.A.,
 740 F. Supp. 2d 525 (S.D.N.Y. 2010) ................................................................................. 19

Hausler v. JP Morgan Chase, NA,
 770 F.3d 207 (2d Cir. 2014) ........................................................................................... 6, 30

Heiser v. Islamic Republic of Iran,
 735 F.3d 934 (D.C. Cir. 2013) ...................................................................................... 29, 31

Islamic Am. Relief Agency v. Unidentified FBI Agents,
   394 F. Supp. 2d 34 (D.D.C. 2005) ...................................................................................... 22

Kirschenbaum v. 650 Fifth Ave. & Related Properties,
  830 F.3d 107 (2d Cir. 2016), abrogated on other grounds by
  Rubin v. Islamic Rep. of Iran, 138 S. Ct. 816 (2018)..................................................... passim

Kirschenbaum v. Assa Corp.,
  934 F.3d 191 (2d Cir. 2019) ......................................................................................... 32, 35

Levin v. Bank of N.Y. Mellon,
  No. 09-cv-5900 (JPO), 2019 WL 564341 (S.D.N.Y. Feb. 12, 2019)..................................... 32

Levinson v. Kuwait Fin. House (Malaysia) Berhard,
  ---F.4th --, No. 21-2043, 2022 WL 3269083 (2d Cir. July 21, 2022) .............................. 13, 15

                                                                iv
           Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 6 of 44




Ministry of Def. & Support for the Armed Forces of the Islamic Republic of Iran v. Elahi,
 556 U.S. 366 (2009)........................................................................................................... 19

Omni Cap. Int’l Ltd. v. Rudolf Wolff & Co.,
 484 U.S. 97 (1987)............................................................................................................. 27

Peacock v. Thomas,
  516 U.S. 349 (1996)..................................................................................................... 16, 17

Pere v. Nuovo Pignone, Inc.,
  150 F.3d 477 (5th Cir. 1998) .............................................................................................. 28

Persinger v. Islamic Rep. of Iran,
  729 F.2d 835 (D.C. Cir. 1984) ............................................................................................ 21

Peterson v. Royal Kingdom of Saudi Arabia,
  416 F.3d 83 (D.C. Cir. 2005).............................................................................................. 10

Poe v. Seaborn,
  282 U.S. 101 (1930)........................................................................................................... 30

Rep. of Argentina v. NML Capital, Ltd.,
  573 U.S. 134 (2014)............................................................................................................. 5

Rep. of Mex. v. Hoffman,
  324 U.S. 30 (1945)............................................................................................................. 28

Republic of Philippines v. Pimentel,
  553 U.S. 851 (2008)........................................................................................................... 28

Rubin v. Islamic Rep. of Iran,
  709 F.3d 49 (1st Cir. 2013)................................................................................................. 13

Rubin v. Islamic Republic of Iran,
  138 S. Ct. 816 (2018) ..................................................................................................... 8, 30

Samantar v. Yousuf,
  560 U.S. 305 (2010)........................................................................................................... 10

Stansell v. Revolutionary Armed Forces of Colombia,
  771 F.3d 713 (11th Cir. 2014)....................................................................................8, 32, 34

Stansell v. Revolutionary Armed Forces of Columbia,
  No. 8:09-cv-2308-T-26MAP, 2013 WL 12133661 (M.D. Fla. May 2, 2013),
  aff’d in part & rev’d in part, 771 F.3d 713 (11th Cir. 2014)................................................. 33

Staples v. United States,
  511 U.S. 600 (1994)........................................................................................................... 31

                                                                 v
           Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 7 of 44




United States v. Assa Co.,
 934 F.3d 185 (2d Cir. 2019) ............................................................................................... 24

United States v. Holy Land Found. for Relief & Dev.,
 445 F.3d 771 (5th Cir. 2006) .............................................................................................. 13

United States v. Holy Land Found. for Relief & Dev.,
 722 F.3d 677 (5th Cir. 2013) ........................................................................................ 18, 19

United States v. Rodgers,
 461 U.S. 677 (1983)..................................................................................................... 30, 31

Vera v. Banco Bilbao Vizcaya Argentaria, S.A.,
  946 F.3d 120 (2d Cir. 2019) ....................................................................................12, 13, 15

Walters v. Indus. & Com. Bank of China, Ltd.,
 651 F.3d 280 (2d Cir. 2011) ............................................................................................... 10

Weininger v. Castro,
 462 F. Supp. 2d 457 (S.D.N.Y. 2006) ............................................................................. 7, 12

Weinstein v. Islamic Republic of Iran,
 609 F.3d 43 (2d Cir. 2010) ........................................................................................... 14, 15

STATUTES

18 U.S.C. § 2333 ................................................................................................................. 1, 7

26 U.S.C. § 7403 ................................................................................................................... 31

28 U.S.C. § 517 ....................................................................................................................... 1

28 U.S.C. § 1330 ............................................................................................................ passim

28 U.S.C. § 1603 ............................................................................................................... 4, 10

28 U.S.C. § 1604 ............................................................................................................... 4, 10

28 U.S.C. § 1605 ..................................................................................................................... 4

28 U.S.C. § 1605A ......................................................................................................... passim

28 U.S.C. § 1605B................................................................................................................... 4

28 U.S.C. § 1608 ............................................................................................................ passim

28 U.S.C. § 1609 ..................................................................................................................... 5

28 U.S.C. §§ 1609-1611 ........................................................................................................ 24

                                                                   vi
           Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 8 of 44




28 U.S.C. § 1610 ............................................................................................................ passim

28 U.S.C. § 1611 ..................................................................................................................... 5

28 U.S.C. § 1963 ............................................................................................................... 7, 16

Terrorism Risk Insurance Act of 2002,
  Pub. L. No. 107–297, 116 Stat. 2322 (2002)................................................................. passim

Iran Threat Reduction and Syria Human Rights Act of 2012,
   Pub. L. No. 112–158, 126 Stat. 1214 (2012).......................................................................... 6

RULES

Fed. R. Civ. P. 4 .................................................................................................................... 26

Fed. R. Civ. P. 5 .................................................................................................................... 26

Fed. R. Civ. P. 69 .................................................................................................................. 27

N.Y. C.P.L.R. § 105 .............................................................................................................. 27

N.Y. C.P.L.R. § 5225............................................................................................................. 27

OTHER AUTHORITIES

50 C.J.S. Judgments § 787 (2013) .......................................................................................... 31

H.R. Rep. No. 94-1487 (1976), as reprinted in 1976 U.S.C.C.A.N. 6604........................... 25, 26

H.R. Rep. No. 107-779 (2002), as reprinted in 2002 U.S.C.C.A.N. 1430................................. 13

State Sponsors of Terrorism,
  https://www.state.gov/state-sponsors-of-terrorism ................................................................. 4




                                                                  vii
            Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 9 of 44




                                        INTRODUCTION

        Pursuant to the invitation of this Court, ECF No. 106, the United States respectfully submits

a Statement of Interest in this matter to address the three questions posed by the Court in its Order.1

        The Plaintiff in this litigation, Antonio Caballero, holds a default judgment against the

Fuerzas Armadas Revolucionarias de Colombia (“FARC”), under the Anti-Terrorism Act, 18

U.S.C. § 2333, that was predicated upon the kidnapping, torture, and murder of his father. He now

seeks to enforce that judgment by executing upon the assets of Venezuela’s state-owned oil

company, Petroleos de Venezuela, S.A. (“PDVSA”). The United States emphatically condemns

the acts of terrorism against Mr. Caballero’s father, and has deep sympathy for his suffering and

for that of all victims of terrorist attacks who continue to seek accountability and compensation

for their losses.

        In seeking to execute upon the assets of PDVSA, however, Mr. Caballero implicates

important questions about the immunities provided to foreign states and their agencies and

instrumentalities, as well as the property of foreign states and foreign state agencies and

instrumentalities, under the Foreign Sovereign Immunities Act (“FSIA”), as modified by the

Terrorism Risk Insurance Act of 2002 (“TRIA”), when applied to attempts to hold foreign states,

including their agencies or instrumentalities, that have not been designated as state sponsors of

terrorism financially responsible for the actions of non-state entities or individuals. The United

States therefore files this Statement of Interest because of its significant interest in ensuring that



        1
         The United States’ submission is pursuant to 28 U.S.C. § 517, which authorizes the
Attorney General to send any officer of the Department of Justice “to attend to the interests of the
United States in a suit pending in a court of the United States, or in a court of a State, or to attend
to any other interest of the United States.”

        Unless otherwise noted, all docket citations are identified by ECF number, with citation to
the pdf pagination provided by the ECF system.
                                                  1
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 10 of 44




courts correctly construe the laws relating to foreign sovereign immunity, including the

enforcement of judgments against the property of foreign states. Issues such as these, which could

affect a broad subset of litigation against foreign sovereigns in U.S. courts, can have significant,

detrimental impact on our foreign relations, as well as on the reciprocal treatment of the United

States and its extensive overseas property holdings. In order to protect its vital interests, the United

States submits this Statement of Interest, which addresses the three questions this Court posed.

        First, the Court asked whether TRIA itself provides subject-matter jurisdiction in an action

where a plaintiff has a liability judgment against a non-state terrorist party and seeks to execute

that judgment against the assets of a foreign state that is also alleged to be an agency or

instrumentality of that non-state terrorist party. It is the view of the United States that TRIA—

which expands exceptions to the attachment immunity normally afforded foreign states—does not

provide an independent basis for subject-matter jurisdiction against a foreign state that is not a

state sponsor of terrorism, as designated by the Executive. Here, for example, although the

plaintiff is seeking to invoke this Court’s ancillary jurisdiction over PDVSA, nonetheless he must

satisfy one of the exceptions to foreign state jurisdictional immunity provided in 28 U.S.C. §§

1605 to 1607 in order to execute against PDVSA’s assets. This conclusion accords with the long-

established principle that foreign states are immune from U.S. court jurisdiction except as

specifically provided in the FSIA; the fact that TRIA applies exclusively to post-judgment

attachment proceedings; and, at least as applied to foreign states, the fact that TRIA is predicated

on the foreign state not being immune under the FSIA’s state sponsor of terrorism exception to

immunity. That conclusion also accounts for the significant foreign policy consequences that

could inure if the assets of foreign states could be attached without a predicate finding by the

Executive that those states are state sponsors of terrorism—an action that would strip foreign states



                                                   2
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 11 of 44




of their immunities in unpredictable ways and in a manner that could have significant negative

reciprocal consequences for the United States.

        Second, the Court asked if the FSIA’s service provisions apply in TRIA post-judgment

execution actions. In the view of the United States, they do: the FSIA specifically sets out the

procedures for service of process on foreign states and their agencies or instrumentalities. Proper

service under the FSIA is required to establish personal jurisdiction over foreign states and, as

established under state procedural law that applies here pursuant to Federal Rule of Civil Procedure

69, this Court must have personal jurisdiction over the non-party garnishee. Personal jurisdiction

against a foreign state agency or instrumentality cannot be established absent service under the

FSIA, which also accords with principles of international comity that ultimately benefit the United

States in reciprocal actions abroad.

        Third, the Court asked whether TRIA requires that the terrorist party itself have an

ownership interest in the assets to be executed upon, or whether it is sufficient for the purported

agency or instrumentality of the terrorist party, in this case, as alleged, PDVSA, to own the assets.

TRIA has long been held to require, at a minimum, that the plaintiff establish that the entity whose

assets are being attached has an ownership interest in the assets, rather than a lesser type of property

interest that might be sufficient to justify those assets being blocked by U.S. sanctions. While the

United States does not take a position on whether ownership by the agency or instrumentality

suffices for an asset to be subject to execution under TRIA, it does take the position that the term

“agency or instrumentality” in TRIA must be appropriately and narrowly defined, particularly

when applied to foreign state entities that are not state sponsors of terrorism, in order to recognize

the Executive’s prerogative in making such a critical determination and to minimize international

friction that could occur if TRIA’s exception to attachment immunity were broadly applied.



                                                   3
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 12 of 44




                                         BACKGROUND

A. STATUTORY BACKGROUND

    1. The Foreign Sovereign Immunities Act.

       The Foreign Sovereign Immunities Act (“FSIA”) establishes the comprehensive and

exclusive framework for obtaining and enforcing judgments against a foreign state in civil suits in

U.S. courts. See, e.g., Argentine Repub. v. Amerada Hess Shipping Corp., 488 U.S. 428, 434-35

(1989). For the purposes of the FSIA, a foreign state includes an “agency or instrumentality of a

foreign state.” 28 U.S.C. § 1603(a). The FSIA provides that a “foreign state” is “immune from

the jurisdiction” of federal and state courts except as provided by the exceptions to immunity in

28 U.S.C. §§ 1605 through 1607. Id. § 1604; see also id. § 1330(a).

       In addition to the original exceptions to jurisdictional immunity contained in 28 U.S.C.

§ 1605, which mainly focus on the commercial activities or explicit waiver of the foreign state,

Congress has subsequently amended the FSIA to provide for two exceptions to jurisdictional

immunity to specifically address international terrorism impacting the United States. The first

exception, 28 U.S.C. § 1605A, provides for jurisdiction over certain terrorism-related claims

against designated “state sponsor[s] of terrorism.” 28 U.S.C. § 1605A(a)(2)(A)(i)(I). Claims may

be heard under this “state sponsor of terrorism exception” only if the state was designated at the

time the act of terrorism occurred or was designated as a result of the act. 2 Further, at the time that

the act of terrorism occurred, the victim must have been a U.S. national, a member of the armed

forces, or a U.S. Government employee or contractor acting within the scope of employment. The

second exception, 28 U.S.C. § 1605B, enacted in 2016 as part of the Justice Against Sponsors of



       2   Venezuela is not (and has never been) designated by the United States as a state sponsor
of terrorism. See State Sponsors of Terrorism, https://www.state.gov/state-sponsors-of-terrorism.
(last visited Sept. 2, 2022).
                                                   4
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 13 of 44




Terrorism Act (“JASTA”), provides jurisdiction over certain terrorism-related claims against any

foreign state.   While this “JASTA exception” to jurisdictional immunity is not limited to

designated state sponsors of terrorism, it does contain key limitations. First, it is limited to cases

involving death or injury caused by “an act of terrorism in the United States.” Second, the injury

or death must be caused by a tortious act of the foreign state or its officials, employees, or agents

acting within the scope of their employment.

       The FSIA also addresses the kinds of foreign sovereign property that are and are not

immune from attachment by judgment creditors. The general rule is that “the property in the

United States of a foreign state shall be immune from attachment.” See 28 U.S.C. § 1609. Section

1610 and 1611 set out various exceptions and qualifications to the general immunity from

attachment of foreign state property.3 See id. §§ 1610, 1611.

       Foreign states, including their agencies or instrumentalities, must be served according to

specific service rules. See 28 U.S.C. § 1608. In order to establish personal jurisdiction over a

foreign state, the court must have subject-matter jurisdiction (i.e., an exception to jurisdictional

immunity applies) and the foreign state must have been served pursuant to section 1608. See id. §

1330(b). As a general matter, after a default judgment has been entered against a foreign state, a

party cannot attach or execute upon the property of a foreign state pursuant to section 1610 until

the state has been served with the default judgment in accordance with section 1608. See id. §§

1608(e), 1610(c).




       3  Traditionally, under the FSIA, the exceptions to attachment immunity are “narrower”
than the exceptions to jurisdictional immunity. Rep. of Argentina v. NML Capital, Ltd., 573 U.S.
134, 142 (2014). As discussed infra, jurisdictional immunity and attachment immunity are
distinct and independent requirements.
                                                  5
         Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 14 of 44




    2. The Terrorism Risk Insurance Act of 2002.

         Section 201 of the Terrorism Risk Insurance Act of 2002 (“TRIA”) represents an extension

of Congress’ earlier efforts to facilitate the execution of terrorism-related judgments against a state

sponsor of terrorism. The text of TRIA § 201 exclusively pertains to making certain assets

available for execution to satisfy terrorism-related judgments. In pertinent part, and as currently

amended, TRIA § 201 provides:

         Notwithstanding any other provision of law, and except as provided in subsection
         (b), in every case in which a person has obtained a judgment against a terrorist party
         on a claim based upon an act of terrorism, or for which a terrorist party is not
         immune under section 1605A or 1605(a)(7) (as such section was in effect on
         January 27, 2008) of title 28, United States Code, the blocked assets of that terrorist
         party (including the blocked assets of any agency or instrumentality of that terrorist
         party) shall be subject to execution or attachment in aid of execution in order to
         satisfy such judgment to the extent of any compensatory damages for which such
         terrorist party has been adjudged liable.

TRIA § 201(a), Pub. L. No. 107–297, title II, §201(a), (b), (d) (as codified at 28 U.S.C. § 1610

note); 116 Stat. 2322, 2337-39 (2002), as amended (to add reference to section 1605A) by Iran

Threat Reduction and Syria Human Rights Act of 2012, Pub. L. No. 112–158, title V, §502(e)(2),

126 Stat. 1214, 1260 (2012).

         TRIA defines “terrorist party” to include “a terrorist, a terrorist organization . . . or a foreign

state designated as a state sponsor of terrorism.” Id. § 201(d)(4). As set forth above, a judgment

holder seeking to attach assets under TRIA must establish that the assets are: (1) blocked, and

(2) assets “of” that terrorist party (including those of an agency or instrumentality of the terrorist

party). Id. § 201(a); see also, e.g., Hausler v. JP Morgan Chase, NA, 770 F.3d 207, 211 (2d Cir.

2014).

         When its conditions are satisfied, TRIA section 201(a) permits attachment of property even

if attachment might otherwise be precluded by the FSIA. See, e.g., Bennett v. Islamic Repub. of



                                                     6
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 15 of 44




Iran, 618 F.3d 19, 21 (D.C. Cir. 2010); Weininger v. Castro, 462 F. Supp. 2d 457, 499 (S.D.N.Y.

2006) (TRIA “overrides the immunity conferred in [28 U.S.C.] § 1611”).

   B. FACTUAL AND PROCEDURAL BACKGROUND

       As this Court is aware, this case involves the Plaintiff’s attempt to enforce a liability

judgment originally entered against the FARC. In 2020, Antonio Caballero secured a liability

judgment in the Southern District of Florida under the Anti-Terrorism Act, 18 U.S.C. § 2333. 4 See

Caballero v. Fuerzas Armadas Revolucionarias de Colombia, No. 18-cv-25337-KMM, 2020 WL

7481302, at *1 (S.D. Fla. May 20, 2020). He alleged, among other things, that the FARC had

kidnapped, tortured, and murdered his father, a “former Ambassador to the United Nations, a

leading politician, and an outspoken critic of narcotics traffickers in Colombia.” Id. These events

did not occur within the United States. Id. at *3 (stating that the kidnapping occurred in Colombia).

The FARC did not appear and defaulted. Id. at *1. The Southern District of Florida court found

that the FARC was liable to Caballero under the Anti-Terrorism Act, id. at *3-4, and thereafter

entered final judgment against the FARC [hereinafter the “Liability Judgment”]. Id. at *7.

       Having secured his liability judgment, Caballero began working to satisfy it. In September

2020, pursuant to 28 U.S.C. § 1963, he registered the Liability Judgment in the Western District

of New York. 5 See Caballero v. Fuerzas Armadas Revolucionarias de Colombia, No. 20-mc-40




       4 The relevant provision of the Anti-Terrorism Act is entirely distinct from the FSIA, and
does not necessarily involve foreign states. See 18 U.S.C. § 2333.

       5 Caballero has also registered the Liability Judgment in a number of other jurisdictions in
order to seek turnover orders against various assets and parties in an attempt to satisfy his
judgment. See, e.g., Caballero v. Fuerzas Armadas Revolucionarias de Colombia, No. 3:20-cv-
1939 (RNC) (D. Conn.); Caballero v. Fuerzas Armadas Revolucionarias de Colombia, No. 21-cv-
11393-IT (D. Mass.); Caballero v. Fuerzas Armadas Revolucionarias de Colombia, No. 20-cv-
7602-JWH (C.D. Cal.); Caballero v. Fuerzas Armadas Revolucionarias de Colombia, No. 20-mc-
80416-JST (N.D. Cal.).
                                                 7
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 16 of 44




(W.D.N.Y.), at ECF No. 1. Shortly thereafter, he moved for an ex parte post-judgment writ of

execution pursuant to TRIA § 201(a) against the assets of Venezuela’s state-owned oil company,

Petroleos de Venezuela, S.A. (“PDVSA”), that were located within the district. See generally Pl.’s

Mot for Issuance of Court Ordered Post-Judgment Writ of Execution, ECF No. 10.

       The Court granted that motion in December 2020. See generally Decision & Order, ECF

No. 15. The Court concluded that the definition of “agency and instrumentality” for purposes of

TRIA was governed by the Second Circuit’s decision in Kirschenbaum v. 650 Fifth Ave. & Related

Properties, 830 F.3d 107, 133-34 (2d Cir. 2016), abrogated on other grounds by Rubin v. Islamic

Rep. of Iran, 138 S. Ct. 816 (2018). See Decision & Order, ECF No. 15, at 4-5. Applying that

standard, the Court held that “PDVSA is an agency or instrumentality of FARC.” Id. at 5. The

Court further held that “[b]ecause ‘an agency or instrumentality determination carries drastic

results—the attachment and execution of property—it undeniably implicates due process

concerns.” Id. at 5 n.3 (quoting Stansell v. Revolutionary Armed Forces of Colombia, 771 F.3d

713, 726 (11th Cir. 2014)). The Court thus ordered that “before its assets are executed on, PDVSA

is nonetheless entitled to notice and an opportunity to be heard to rebut the allegations that it is an

agency or instrumentality of FARC.” Id.

       Caballero served PDVSA by mailing a copy of the writ of execution to PDVSA’s offices

in Venezuela. See Ex. 4, ECF No. 23-4. Caballero then moved for a turnover judgment, which

the Court granted in January 2021, for essentially the same reasons as in its order granting the writ

of execution. See Turnover J., ECF No. 35. PDVSA did not appear, despite the fact that, according

to the Court, Caballero had “provided adequate notice of the writ of execution to PDVSA and the

defendants.” Id. at 3.




                                                  8
         Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 17 of 44




         A few days later, PDVSA moved to intervene. See PDVSA’s Limited Mot. to Intervene,

ECF No. 37. PDVSA then moved to quash the writs of execution and vacate the turnover

judgment. See PDVSA’s Mot. to Quash Writs of Executions & Vacate Turnover J., ECF No. 85-

1. After PDVSA’s motion was fully briefed, the Court issued an order inviting the United States

to file a brief addressing the following questions “and any other issues raised by this litigation that

the United States deems of interest.” Order, ECF No. 106, at 4.

    1. Whether, and if so, how, FSIA’s jurisdictional and attachment immunity provisions apply
       in this post-judgment execution action; in particular, whether section 201(a) of TRIA
       provides subject matter jurisdiction in an action where a party obtained a judgment against
       a non-state terrorist party and seeks to execute that judgment against a foreign state also
       alleged to be an agency or instrumentality of the non-state terrorist party.

    2. Whether FSIA’s service provision, 28 U.S.C. § 1608, applies in a post-judgment execution
       action under section 201(a) of TRIA; and

    3. Whether section 201(a)’s language regarding the “blocked assets of any agency or
       instrumentality of that terrorist party” requires that the terrorist party have an ownership
       interest in the assets at issue for attachment under section 201(a) of TRIA.

Id. at 4-5.
                                            ANALYSIS

    I.        BECAUSE TRIA DOES NOT PROVIDE AN INDEPENDENT BASIS FOR
              SUBJECT-MATTER JURISDICTION AGAINST AN AGENCY OR
              INSTRUMENTALITY OF A FOREIGN STATE THAT IS NOT A STATE
              SPONSOR OF TERRORISM, ANY GRANT OF JURISDICTION MUST BE
              PROVIDED IN THE FSIA.

         It is the view of the United States that TRIA does not provide an independent basis for

subject-matter jurisdiction in a claim against a foreign state, or its agencies and instrumentalities,

that is not designated as a state sponsor of terrorism.          Instead, the FSIA’s jurisdictional

requirements—which are the exclusive basis for jurisdiction against foreign states or their agencies

or instrumentalities—must first be satisfied.




                                                  9
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 18 of 44




    A. The FSIA is the exclusive basis for subject-matter jurisdiction over foreign states,
       including their assets or instrumentalities, and such states are immune from court
       jurisdiction unless a specific exception to jurisdictional immunity applies.

       It is a foundational principle that the “FSIA [is] the sole basis for obtaining jurisdiction

over a foreign state in [U.S.] courts.” Argentine Rep., 488 U.S. at 434; see also Samantar v. Yousuf,

560 U.S. 305, 313-14 (2010) (“The FSIA provides that ‘a foreign state shall be immune from the

jurisdiction of the courts of the United States and of the States’ except as provided in the Act.

Thus, if a defendant is a ‘foreign state’ within the meaning from the Act, then the defendant is

immune from jurisdiction unless one of the exceptions in the Act applies.”) (internal citation

omitted); Peterson v. Royal Kingdom of Saudi Arabia, 416 F.3d 83, 86 (D.C. Cir. 2005) (“In the

United States, there is only one way for a court to obtain jurisdiction over a foreign state and it is

not a particularly generous one—the FSIA.”). Such exclusive jurisdiction is defined by two

statutes: “[28 U.S.C.] § 1604 bars federal and state courts from exercising jurisdiction when a

foreign state is entitled to immunity, and [28 U.S.C.] § 1330(a) confers jurisdiction on district

courts to hear suits brought by United States citizens and by aliens when a foreign state is not

entitled to immunity.” Argentine Rep., 488 U.S. at 434. The FSIA draws a further distinction

between jurisdictional immunity, which provides the state immunity from suit, and execution

immunity, which protects the state’s property from attachment and execution. See, e.g., Walters

v. Indus. & Com. Bank of China, Ltd., 651 F.3d 280, 286 (2d Cir. 2011) (summarizing differences).

“[T]he FSIA’s provisions governing jurisdictional immunity, on one hand, and execution

immunity, on the other, operate independently.” Id. at 288.

       For the purposes of the FSIA, including section 1604, a foreign state includes “an agency

or instrumentality of a foreign state.” 28 U.S.C. § 1603(a). This Court recognizes that PDVSA is

“the national oil company of Venezuela,” Decision & Order, ECF No. 78, at 3, which is owned by


                                                 10
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 19 of 44




Venezuela, and whose board is appointed by the President of Venezuela, id. at 10. Accordingly,

it appears to be undisputed that PDVSA is an agency or instrumentality of Venezuela.

       As such, Caballero must establish an exception to jurisdictional immunity as set out in 28

U.S.C. §§ 1605 to 1607 that would be applicable to PDVSA. While the United States does not

take a position as to whether Caballero could make such a showing, absent a determination that

there is an applicable exception to the FSIA that provides subject-matter jurisdiction over PDVSA,

there would be no basis to exercise jurisdiction over PDVSA in this case.

   B. TRIA—which eliminates attachment immunity in situations to which it applies—
      does not displace the requirement for an exception to jurisdictional immunity in this
      case.

        TRIA does not provide an explicit exception to jurisdictional immunity. TRIA section

201(a) provides that:

       Notwithstanding any other provision of law . . . in every case in which a person has
       obtained a judgment against a terrorist party on a claim based upon an act of
       terrorism, or for which a terrorist party is not immune under section 1605A or
       1605(a)(7) [(as such section was in effect on January 27, 2008)] of title 28, United
       States Code, the blocked assets of the terrorist party (including the blocked assets
       of any agency or instrumentality of that terrorist party) shall be subject to execution
       or attachment in aid of execution in order to satisfy such judgment.

TRIA § 201(a).

       It is clear that TRIA expands the category of assets that may be executed upon in service

of a terrorism judgment. Compare TRIA § 201(a), with 28 U.S.C. § 1610 (limited exceptions to

foreign state execution immunity). The dispositive question is whether TRIA also waives

jurisdictional immunity for foreign states. For multiple independent reasons, it is the position of

the United States that TRIA does not provide an independent grant of subject-matter jurisdiction

over foreign states where jurisdiction has not already been established under the FSIA’s exception

to immunity for state sponsors of terrorism.          Rather, in such cases TRIA simply—albeit


                                                 11
         Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 20 of 44




significantly—expands the exceptions for attachment immunity for entities that fall within its

scope.

         i.     TRIA’s text exclusively pertains to post-judgment attachment proceedings. TRIA

thus takes as a given that there must have been jurisdiction to allow the imposition of a judgment

earlier in the proceedings, rather than providing an independent grant of subject-matter

jurisdiction.

         Indeed, with respect to foreign states, TRIA only expands exceptions to execution

immunity where the FSIA’s jurisdictional requirements have already been satisfied. TRIA

clarifies that it applies to judgments “based upon an act of terrorism” as specifically defined or

claims “for which a terrorist party is not immune under [28 U.S.C. § 1605A].” TRIA § 201(a).

As courts have explained, if TRIA were an independent source of subject-matter jurisdiction, then

that clause—which presumes that the FSIA’s terrorism exception to jurisdictional immunity has

already been satisfied—would be superfluous. See Weininger v. Castro, 462 F. Supp. 2d 457, 480

(S.D.N.Y. 2006) (“However, if a foreign sovereign was immune from judgment under §

1605(a)(7), reading a ‘claim based on an act of terrorism’ to include those foreign sovereigns

would defeat that very immunity and create a whole new category of jurisdiction over otherwise

immune sovereigns. The Court has before it no indication that this application reflects Congress’s

intent in passing TRIA, an execution statute.”). Moreover, the Second Circuit is explicit that TRIA

only waives the attachment immunity over foreign states: “TRIA section 201(a) provides for

federal court jurisdiction over execution and attachment proceedings involving the assets of a

foreign sovereign, however, only where a valid judgment has been entered against the sovereign.

In other words, section 201 provides jurisdiction for execution and attachment proceedings to

satisfy a judgment for which there was original jurisdiction under the FSIA.” Vera v. Banco Bilbao



                                                12
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 21 of 44




Vizcaya Argentaria, S.A., 946 F.3d 120, 133 (2d Cir. 2019) (internal citations and quotation marks

omitted).

        Moreover, the legislative history and case law also recognize TRIA as expanding

exceptions to attachment immunity, rather than expanding the subject-matter jurisdiction of the

federal courts over foreign states. As discussed above, attachment and jurisdiction immunity are

independent requirements, so expanding attachment immunity should render no change to

jurisdictional immunity. See H.R. Rep. 107-779, at 27 (2002), as reprinted in 2002 U.S.C.C.A.N.

1430, 1434 (“Section 201 builds upon and extends the principles in section 1610(f)(1) of the

Foreign Sovereign Immunities Act [applying to attachment immunity], authorizes the enforcement

of judgments against terrorist organizations . . . .”); United States v. Holy Land Found. for Relief

& Dev., 445 F.3d 771, 787 (5th Cir. 2006) (“The TRIA amended § 1610 of the FSIA, which is

titled ‘Exceptions to the immunity from attachment or execution’ to make available assets that

might otherwise be immune from execution.”); id. (“We conclude that the ‘notwithstanding’

language [in TRIA] . . . appears to target statutory immunities to execution.”); Rubin v. Islamic

Rep. of Iran, 709 F.3d 49, 54 (1st Cir. 2013) (“[Under certain circumstances, TRIA permits the

attachment of property that might otherwise be immune under the FSIA.”); see also Levinson v.

Kuwait Fin. House (Malaysia) Berhard, -- F.4th --, No. 21-2043, 2022 WL 3269083, at *3 (2d

Cir. July 21, 2022) (“The FSIA provides that foreign states, as well as their agencies or

instrumentalities, enjoy absolute immunity from suit and from the attachment and execution of

their assets, and these immunities fall away only under ‘certain express exceptions.’ . . . . [one]

such exception, TRIA, allows FSIA judgment holders to enforce their judgments using attachment

or execution . . . . ”) (internal citation omitted).




                                                       13
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 22 of 44




       ii.     The Second Circuit’s decision in Weinstein v. Islamic Republic of Iran, 609 F.3d

43 (2d Cir. 2010), which concerned jurisdiction over agencies and instrumentalities of designated

state sponsors of terrorism, does not suggest that TRIA could serve as an independent grant of

subject-matter jurisdiction over agencies and instrumentalities of a foreign state not designated as

a state sponsor of terrorism. In Weinstein, the Second Circuit considered a claim where there was

an FSIA terrorism judgment against Iran and the plaintiffs were attempting to execute against the

assets of Bank Melli, an agency or instrumentality of Iran that had not been a defendant in the

initial suit. The bank argued that TRIA “does not provide jurisdiction for a court to permit

attachment against a party that was not itself the subject of the underlying judgment.” Id. at 48-

49. The Second Circuit disagreed. It reasoned that, because TRIA specifically stated that the

“blocked assets of any agency or instrumentality of th[e] terrorist party” are subject to attachment

in cases in which the plaintiff had a judgment against the terrorist party, the court must also have

“an independent grant of jurisdiction over the agencies and instrumentalities.” Id. at 49. Otherwise

the language in TRIA allowing plaintiffs to execute upon the assets of those entities would be

rendered a “nullity.” Id. Accordingly, it held that “Section 201(a) of the TRIA provides courts

with subject-matter jurisdiction over post-judgment execution and attachment proceedings against

property held in the hands of an instrumentality of the judgment-debtor, even if the instrumentality

is not itself named in the judgment.” Id. at 50.

       Weinstein, however, does not address this kind of case, where the plaintiff is seeking to

attach the assets of a state instrumentality or agency based on a judgment that was entered against

a non-state party. Although Weinstein refers to TRIA as providing an “independent grant of

jurisdiction over the agencies and instrumentalities” of terrorist parties, id. at 49, that broad

language is read best to refer only to the situation that was presented in that case—in which “TRIA



                                                   14
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 23 of 44




provides jurisdiction for execution and attachment proceedings to satisfy a judgment for which

there was original jurisdiction under the FSIA ….” Id. at 52 (emphasis added). In such cases,

there was already a FSIA exception to subject-matter jurisdiction over the foreign state, as required

for the primary terrorism judgment. See, e.g., Levinson, 2022 WL 3269083, at *3 (noting that

TRIA is an exception to attachment immunity for “FSIA judgment holders”). Here, where the

terrorism judgment was based on a non-state entity, there is no judgment for which there was

subject-matter jurisdiction under the FSIA. Accordingly, Weinstein need not and should not be

read to address attachment proceedings against a foreign state (or agency or instrumentality) absent

a predicate FSIA judgment against the foreign state in question. Under those circumstances, the

requirement of an exception to the FSIA’s jurisdictional immunity found in the FSIA itself

continues to apply. This reading is consistent with how the Second Circuit has construed

Weinstein:

       TRIA section 201(a) provides for federal court jurisdiction over execution and
       attachment proceedings involving the assets of a foreign sovereign, however, only
       where “a valid judgment has been entered” against the sovereign. In other words,
       section 201 “provides jurisdiction for execution and attachment proceedings to
       satisfy a judgment for which there was original jurisdiction under the FSIA . . . if
       certain statutory elements are satisfied.” Whether the District Court here had
       jurisdiction under TRIA to attach and execute on Cuba’s assets, therefore, turns on
       whether Petitioners held judgments that were based on an exception to immunity
       from jurisdiction established by the FSIA

Vera, 946 F.3d at 133 (quoting Weinstein, 609 F.3d at 52; first citation omitted); see also Levinson,

2022 WL 3269083, at *3 (noting that TRIA, as applied against foreign states, “allows FSIA

judgment holders to enforce their judgments using attachment or execution”).

       Similarly, in Crystallex International Corp. v. Bolivarian Rep. of Venezuela, 932 F.3d 126,

136-38 (3d Cir. 2019), the Third Circuit considered the related question of whether the plaintiffs—

who had secured jurisdiction over Venezuela via an applicable FSIA exception to jurisdictional



                                                 15
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 24 of 44




immunity under section 1605—could also have jurisdiction over PDVSA, its conceded agency or

instrumentality, for purpose of enforcing the judgment. The Third Circuit reasoned that it did. It

concluded that “when a party establishes that an exception to sovereign immunity applies in a

merits action that results in a federal judgment . . . that party does not need to establish yet another

exception when it registers the judgment in another district court under 28 U.S.C. § 1963 and seeks

enforcement in that court.” Id. at 137. The Third Circuit reasoned that “the jurisdictional basis

from the action resulting in the judgment carries over to the post-judgment enforcement proceeding

in a manner akin to the ordinary operation of a district court’s enforcement jurisdiction over post-

judgment proceedings.” Id. The Third Circuit further concluded that if the plaintiff could establish

that PDVSA was the alter ego of Venezuela under First National City Bank v. Banco Para El

Comercio Exterior de Cuba (“Bancec”), 462 U.S. 611 (1983), then the plaintiff could attach the

company’s assets to satisfy the judgment against Venezuela.

        When read together with Weinstein, Crystallex indicates that under certain circumstances,

such as where an agency or instrumentality is operating as an alter ego of the state, there does not

necessarily need to be a separate jurisdictional exception for the agency or instrumentality in order

for the court to have subject-matter jurisdiction and be able to attach assets of the agency or

instrumentality to satisfy a judgment against a foreign state. Crystallex, 932 F.3d at 139. But even

in those limited situations, the FSIA still has to provide an exception to jurisdictional immunity

for the parent state. That is not the situation here.

        TRIA also does not provide ancillary jurisdiction to enforce judgments against a foreign

state’s assets that would overcome the jurisdictional immunities provided by the FSIA. PDVSA,

in its district court briefing, relies upon the Supreme Court’s decision in Peacock v. Thomas, 516

U.S. 349 (1996). See PDVSA’s Mot. to Quash, at 14; PDVSA’s Reply in Supp. of Mot. to Quash



                                                  16
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 25 of 44




Writs of Executions & Turnover J., ECF No. 91, at 1. In that decision, the Supreme Court

considered the line between a court’s ancillary jurisdiction to enforce upon an existing judgment

and a new proceeding that imposed liability on a new party. The Court noted that “[w]e have never

authorized the exercise of ancillary jurisdiction in a subsequent lawsuit to impose an obligation to

pay an existing federal judgment on a person not already liable for that judgment.” Peacock, 516

U.S. at 357. It affirmed, however, the “exercise of ancillary jurisdiction over a broad range of

supplementary proceedings involving third parties to assist in the protection and enforcement of

federal judgments—including attachment, mandamus, [and] garnishment.” Id. at 356. Key to the

court’s decision appeared to be “the shifting of liability for payment of the judgment from the

judgment debtor to the [new party].” Id. at 358. Indeed,

       Since Peacock, most courts have continued to draw a distinction between post-
       judgment proceedings to collect an existing judgment and proceedings, such as
       claims of alter ego liability and veil-piercing, that raise an independent controversy
       with a new party in an effort to shift liability. Where the post-judgment proceeding
       is an effort to collect a federal court judgment, the courts have permitted judgment
       creditors to pursue, under the ancillary enforcement jurisdiction of the court, the
       assets of the judgment debtor even those the assets are found in the hands of a third
       party.

Epperson v. Ent. Express, Inc., 242 F.3d 100, 106 (2d Cir. 2001); see also C.G. Holdings, Inc. v.

Rum Jungle, Inc., 852 F. Supp. 2d 582, 388 (E.D.N.Y. 2008) (“courts in this circuit have found

that enforcement of a judgment against a third party that is predicated on alter-ego and veil-

piercing theories falls outside the ancillary jurisdiction of the court.”).

       In the view of the United States, the best way to harmonize Peacock, Crystallex, and

Weinstein is as follows: As long as there is an applicable FSIA exception under which the district

court has subject-matter jurisdiction over a foreign state against which a judgment has been

entered, a court may attach the assets of that state’s agency or instrumentality to enforce the

judgment, at least if that agency or instrumentality is the alter ego of the foreign state (Crystallex)


                                                  17
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 26 of 44




or, in the TRIA context, is the agency or instrumentality of a foreign state subject to a judgment

under 28 U.S.C. § 1605A (Weinstein). If the FSIA was not utilized for the subject-matter

jurisdiction of the underlying judgment, then Peacock teaches that the court may not attach the

assets, because the plaintiff is trying to extend liability for the judgment to a new party, the foreign

state (or its agency or instrumentality), rather than to collect the defendant’s own assets that are

being held by a foreign state agency or instrumentality. That reading is faithful to the fundamental

principle that the FSIA is the exclusive authorization of jurisdiction over foreign states and that

the courts lack jurisdiction over a foreign state unless an exception to the FSIA applies.

        iii.    The Plaintiff’s argument to the contrary would effectively limit not only the

execution immunity of designated state sponsors of terrorism, but also the jurisdictional immunity

of all foreign states. That reading would fundamentally alter the immunity regime enacted by

Congress in the FSIA. Whereas TRIA explicitly abrogates the execution immunity regime for a

very small number of foreign states designated by the Executive as state sponsors of terrorism,

Plaintiff’s proposed interpretation would make the blocked assets of any foreign state potentially

vulnerable to attachment to enforce terrorism judgments against non-state actors. It would do so

without any requirement that the courts first address the jurisdictional immunity, much less the

liability, of the foreign state or its agency.

        TRIA itself does not require such a reading.              Although Plaintiff points to the

“notwithstanding” clause of Section 201(a) of TRIA, that “‘notwithstanding’ clause only applies

when another provision of law conflicts with the TRIA.” United States. v. Holy Land Found. for

Relief & Dev., 722 F.3d 677, 687 (5th Cir. 2013) (collecting cases). In determining whether there

is an actual conflict, courts have rejected the argument that “the ‘notwithstanding’ clause trumps

any other law that has the incidental effect of removing funds from the reach of judgment



                                                  18
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 27 of 44




creditors.” Id.at 688; see also id. at 689 (“The language of TRIA § 201 is not ambiguous; it allows

a plaintiff with a judgment against a terrorist organization to execute against that organization’s

assets. . . . The ‘notwithstanding’ clause should not be read to override the operation of other

statutory provisions that do not interfere with the TRIA’s stated purpose.”) (internal citation

omitted). Moreover, even to the extent that this provision could be read as preempting conflicting

laws, e.g., Hausler v. J.P. Morgan Chase Bank, N.A., 740 F. Supp. 2d 525, 531 (S.D.N.Y. 2010),

the United States is not aware of authority holding that a “notwithstanding” clause would create

subject-matter jurisdiction that would not otherwise exist. This would be a broad expansion of a

provision that is focused on attachment immunity only. As the Supreme Court observed “the

[legislative] history suggests that Congress placed the ‘notwithstanding’ clause in § 201(a) for

totally different reasons, namely, to eliminate the effect of any Presidential waiver issued under 28

U.S.C. § 1610(f) prior to the date of the TRIA’s enactment.” Ministry of Def. & Support for the

Armed Forces of the Islamic Republic of Iran v. Elahi, 556 U.S. 366, 386 (2009) (citing H. R. Rep.

No. 107-779, at 27 (Conf. Rep.), 2002 U.S.C.C.A.N. at 1434).

       Caballero’s proposed interpretation is not only inconsistent with the comprehensive regime

of immunity established by the FSIA; it would also undermine the specific and targeted measures

under the FSIA to address sovereign immunity as it relates to terrorism claims. Congress has

enacted two specific FSIA provisions for addressing jurisdictional immunity in the terrorism

context, sections 1605A and 1605B, with one of those provisions being enacted over a decade after

TRIA’s enactment. But Caballero’s proposed interpretation of TRIA would allow plaintiffs to

avoid those carefully delineated exceptions enacted by Congress, as well as the judgment of the

Executive Branch in designating state sponsors of terrorism, in effect opening a back door through

TRIA. Plaintiffs’ inability to obtain jurisdiction over Venezuela or PDVSA based on the FSIA’s



                                                19
          Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 28 of 44




terrorism exceptions to immunity would no longer be an obstacle to plaintiffs, for there would be

a far easier route to have Venezuela or PDVSA satisfy a terrorism-related judgment through

TRIA. 6     Courts should be wary of interpreting TRIA to fundamentally alter the sovereign

immunity framework established by Congress, particularly in the absence of any support in the

text or legislative history of TRIA for such an interpretation.

       iv.       Caballero’s proposed interpretation also would invite significant, negative foreign

policy consequences, which would significantly limit the discretion of the Executive and cause

unnecessary conflict with foreign countries at the expense of U.S. litigants.

          First, interpreting TRIA to potentially abrogate attachment immunity for all foreign

states—not just those designated state sponsors of terrorism—would undermine the effectiveness

of the Executive Branch’s authority to designate which particular foreign governments should be

subject to suit and attachment under the FSIA based on their support of terrorism. Designating a

foreign state as a state sponsor of terrorism carries serious consequences and occurs only after

national security, foreign policy, and intelligence professionals carefully review all available

information to determine whether a country meets the criteria that the Congress established. In

contrast, plaintiff’s interpretation of TRIA could strip any foreign government of immunity from

judicial process in the United States based solely upon allegations by private litigants that a foreign

government or its agency or instrumentality acted as an agent of a private terrorist party subject to




       6 In fact, under Caballero’s interpretation, plaintiffs pursuing execution against the assets
of non-state sponsors of terrorism under TRIA may be more favorably positioned than those
seeking to hold a foreign state directly liable for its tortious acts connected to a terrorist attack in
the United States under JASTA. Plaintiffs under JASTA have to meet certain jurisdictional
requirements and, if successful, prevail on the merits. And even then, they would not be able to
execute any resulting judgments based on the provisions of TRIA (which is limited to 1605A or
1605(a)(7) claims), but would have to rely on the narrower exceptions to execution immunity
provided by the FSIA.
                                                  20
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 29 of 44




a terrorism-related judgment. This would place consequential decisions concerning whether

foreign governments support terrorism in the hands of private litigants and courts, to be made post-

judgment, based upon incomplete information or upon a mere showing of broad connections

between a foreign government and terrorist groups. In addition, this approach would risk having

different courts reaching different conclusions about the degree of connection necessary to execute

against a foreign state’s assets based on alleged terrorist connections.

       Second, Caballero’s interpretation would upset longstanding international principles

regarding sovereign immunity, putting in place rules that, if applied globally, could have serious

implications for U.S. national interests. The United States has a larger international presence, by

far, than any other country, and sovereign immunity principles protect our Nation and its Armed

Forces, officials, and assistance professionals from foreign court proceedings. These principles

also protect U.S. Government assets from attempted seizure by private litigants abroad. Removing

sovereign immunity in U.S. courts for foreign governments that are not designated as state

sponsors of terrorism, based solely on allegations of that foreign government’s support for a

terrorist group, threatens to undermine these longstanding principles that protect the United States,

our forces, and our personnel. See, e.g., Clodfelter v. Rep. of Sudan, 720 F.3d 199, 209 (4th Cir.

2013) (noting the “reciprocal foreign litigation interests of the United States” when construing

statutes against foreign states); Persinger v. Islamic Rep. of Iran, 729 F.2d 835, 841 (D.C. Cir.

1984) (recognizing that because “some foreign states base their sovereign immunity decisions on

reciprocity,” a U.S. court’s decision to exercise jurisdiction over a foreign state can “subject the

United States to suits abroad” in like circumstances).

       Third, Caballero’s interpretation threatens to create complications in our relationships with

foreign states and our use of sanctions as a foreign policy tool. If a plaintiff obtained a judgment



                                                 21
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 30 of 44




against a terrorist party, that judgment could be satisfied with blocked assets of a foreign state on

a mere showing that the foreign state had provided “material services to, on behalf of, or in support

of the terrorist party.” Kirschenbaum v. 650 Fifth Ave. & Related Props., 830 F.3d at 135. While

it is true that TRIA would allow for attachment only of blocked assets, assets can be blocked for a

wide variety of reasons, not necessarily related to terrorism or the specific terrorist attack for which

plaintiffs have obtained a judgment. Subjecting a foreign state’s blocked assets to execution under

TRIA, where the Executive branch has not designated the foreign state as a state sponsor of

terrorism, significantly complicates the use of sanctions as a tool of foreign policy by subjecting a

potentially broad range of blocked assets belonging to foreign states to the choices of private

litigants seeking to enforce their judgments.

        Economic sanctions have long been used by the United States as an important tool of

foreign policy. See, e.g., Islamic Am. Relief Agency v. Unidentified FBI Agents, 394 F. Supp. 2d

34, 41 (D.D.C. 2005). Moreover, the United States often blocks assets for reasons that are broader

or different than a foreign state’s connection to terrorism. Under the plaintiff’s theory, however,

litigants could collect foreign state assets under TRIA provisions that (as relevant here) were

intended to be limited to the blocked assets of designated state sponsors of terrorism (or their

agencies and instrumentalities). This would greatly expand the pool of available assets, and thus

reduce the leverage of sanctions in contexts not involving a state sponsor of terrorism. This would

frustrate the important national security and foreign policy prerogatives of the Executive, including

its leverage in applying such sanctions. Cf. Am. Ins. Ass’n v. Garamendi, 539 U.S. 396, 415 (2003)

(discussing executive’s central role in carrying out foreign policy and blocking conflicting state

efforts which interfere with those responsibilities). In light of this important background principle,




                                                  22
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 31 of 44




TRIA § 201 should not be interpreted to create subject-matter jurisdiction absent a clear indication

of Congressional intent, which is not present here.

   C. Caballero’s argument that an attachment action is an in rem or quasi-in-rem
      proceeding to which the FSIA does not apply is not consistent with the FSIA.

       Caballero’s primary response to the foregoing analysis is to claim that the limitations of

the FSIA do not apply in this action because the FSIA only applies to in personam actions, as

opposed to actions that are in rem or quasi-in-rem. See Pl.’s Mem. of Law in Opp’n to PDVSA’s

& Subsidiaries Mot. to Quash Writs of Execution & Vacate Turnover J. (“Opp’n to Mot. to

Quash”),. There is no basis for this conclusion, which could have the effect of largely vitiating the

FSIA’s carefully constructed immunity provisions.

       i.      Post-judgment attachment actions are sometimes described as quasi-in-rem

proceedings, particularly when applied against the property in the possession of a third-party based

upon a relationship between that party and the judgment debtor. See, e.g., Caballero v. Fuerzas

Armadas Revolucionarias de Colombia, 562 F. Supp. 3d 867, 882-85 (C.D. Cal. 2021) (concluding

that TRIA provided for quasi-in-rem jurisdiction for post-judgment attachment actions); Billiouri

v. Wells Fargo Bank N.A., No. 3:15-cv-2664-L, 2022 WL 2992880, at *3 (N.D. Tex. July 28,

2022) (“A postjudgment garnishment proceeding is a quasi in rem action brought by a judgment

creditor (the garnishor) against another party (the garnishee) who holds property or funds

belonging to the judgment debtor.”).

       But the FSIA makes clear that foreign property is immune from post-judgment attachment

unless a specific exception to that attachment immunity applies. See 28 U.S.C. §§ 1609-1611.7




       7 There is a limited exception to the FSIA’s immunity from pre-judgment attachment,
which only applies if the foreign state has, among other things, “explicitly waived its immunity
from attachment prior to judgment.” 28 U.S.C. § 1610(d)(1).
                                                 23
         Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 32 of 44




Given that Congress enacted several sections of the FSIA to protect foreign states from attachment

proceedings except under narrow circumstances, it is difficult to see how the FSIA does not apply

to attachment proceedings, however denominated, involving the property of a foreign state.

         ii.     The Second Circuit’s decision in United States v. Assa Co. 934 F.3d 185 (2d Cir.

2019), is not to the contrary. See Opp’n to Mot. To Quash, at 6-8. There, the Second Circuit

concluded that FSIA does not preclude in rem asset forfeiture actions brought by the United States

against the property of foreign states. See Assa, 934 F.3d at 189. The Second Circuit’s decision

specifically distinguished civil forfeiture in rem actions brought by the United States from “quasi

in rem suits meant to enforce in personam judgments against a foreign state.” Id. The Second

Circuit agreed that the FSIA governs attachment proceedings of the type at issue here, which are

brought by private litigants to enforce in personam judgments. Id.

   II.         FSIA’S SERVICE PROVISIONS APPLY TO POST-JUDGMENT EXECUTION
               ACTIONS AGAINST A FOREIGN STATE’S ASSETS WHERE THE
               FOREIGN STATE IS NOT THE JUDGMENT DEBTOR.

         The United States takes the position that FISA’s service provisions, 28 U.S.C. § 1608,

apply to post-judgment execution actions under section 201(a) of TRIA, at least where the foreign

state was not the judgment debtor, as here.

   A. FSIA sets out the process by which foreign states, including their agencies or
      instrumentalities, are served with judicial process.

         The FSIA establishes the process by which “service in the courts of the United States and

of the States shall be made upon an agency or instrumentality of a foreign states.” 28 U.S.C.

§ 1608(b). “Section 1608 sets forth the exclusive procedures with respect to service on, the filing

of an answer or other responsive pleadings by, and obtaining a default judgment against a foreign

state or its political subdivisions, agencies or instrumentalities.” H.R. Rep. No. 94-1487, at 24

(1976), reprinted in 1976 U.S.C.C.A.N. 6604, 6622. The purpose of these procedures is to ensure

                                                24
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 33 of 44




that the foreign state has proper notice of litigation in the United States brought against a foreign

state, or against foreign states assets, so that the foreign state has an adequate opportunity to appear

before U.S. courts to assert its defenses, including sovereign immunity.

       Befitting the importance of notice and an opportunity to appear, proper service is a

consequential act in litigation against foreign states. Service pursuant to section 1608 is necessary

to establishing personal jurisdiction over a foreign state. See 28 U.S.C. § 1330(b). Service

pursuant to section 1608 is also required before a default judgment can be enforced against a

foreign state via the execution or attachment of state assets. See 28 U.S.C. §§ 1608(e), 1610(c).

    B. Post-judgment execution actions require service to third parties whose assets are
       subject to attachment.

        The United States is not aware of authority directly addressing whether section 1608

requires service with respect to attempts to attach the assets of foreign states who were not party

to the underlying liability judgment. Indeed, no provision of the FSIA specifically addresses what

form of notice must be provided to a foreign state where execution is sought against foreign state

property. However, there are several independent reasons why service as set out in the FSIA is

required under such circumstances.

       i.       Service of the attachment action is consistent with the structure of the FSIA, which

provides foreign states (and their agencies and instrumentalities) with significant protections,

including against attachment proceedings. Under the FSIA, service under section 1608 is required

to commence a liability suit against a foreign state, see 28 U.S.C. § 1330(b), and is required again

before attachment or execution against a foreign state’s assets can be effectuated after a default

judgment against that state has been entered, see 28 U.S.C. § 1610(c). (In a situation where a non-

default judgment was entered, the foreign state must have appeared, and thus was on notice of the

suit.) The purpose of this provision is to “afford sufficient protection to a foreign state.” H.R.

                                                  25
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 34 of 44




Rep. 94-1487, at 30. By preventing execution except by court order, and by requiring the passage

of a reasonable time following entry of default judgment, which must be separately served on the

foreign state, Congress clearly envisioned that there would be a meaningful opportunity for a

foreign sovereign to be heard at the enforcement stage to assert immunity.

       In the situation here, the foreign state—by definition—would not have been served with

the underlying liability judgment, because it was not named in that suit. It would be highly

anomalous for Congress to have provided service of process as a prerequisite to execution to a

situation where a foreign state was named as a defendant in the underlying lawsuit, and then

defaulted (i.e., affirmatively chose not to appear even after being provided notice), but to have

provided no protection when a foreign state’s assets are being attached in a situation where the

foreign state was not even named as a defendant in the underlying action or provided any notice

of that action.

       The Federal Rules also are best understood to require service in a post-judgment execution

motion consistent with the FSIA. Any pleading “asserting new or additional claims” against a

foreign state must be served in conformance with 28 U.S.C. § 1608. See Fed. R. Civ. P. 5(a),

4(j)(1). In light of the distinct rights and interests implicated for the first time when a judgment is

sought to be enforced—particularly against a new party—a motion seeking an order of

enforcement against foreign state property can be viewed as analogous to a pleading asserting a

new claim for relief.

       Courts have “stressed a foreign sovereign’s interest—and our interest in protecting that

interest—in being able to assert defenses based on its sovereign status.” FG Hemisphere Assocs.,

LLC v. Dem. Rep. of Congo, 447 F.3d 835, 838 (D.C. Cir. 2006). Service of process pursuant to




                                                  26
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 35 of 44




the FSIA is the best way of ensuring that foreign states have notice that their property is subject to

enforcement efforts and an opportunity to appear to assert immunity from execution.

       ii.     Service of process under section 1608 is also required under applicable federal and

state procedural law. Federal Rule of Civil Procedure 69 states that writs of execution “must

accord with the procedure of the state where the court is located, but a federal statute governs to

the extent it applies.” Fed. R. Civ. P. 69(a)(1). Here, the relevant New York state statute appears

to be N.Y. C.P.L.R. § 5225(b), which allows the judgment creditor to bring an execution action

“against a person in possession or custody of money or other personal property in which the

judgment debtor has an interest.” N.Y. C.P.L.R. § 5225(b).

       Importantly, in order to proceed against a non-party garnishee,8 as here, the court must

“ha[ve] personal jurisdiction over the garnishee.” CSX Transp., Inc. v. Island Rail Terminal, Inc.,

879 F.3d 462, 469 (2d Cir. 2018). To establish personal jurisdiction over a foreign state agency

or instrumentality, that entity must, among other requirements, be served pursuant to section 1608.

See 28 U.S.C. § 1330(b). Indeed, even if section 1330(b) does not apply here—and it does—

before a court may exercise personal jurisdiction over a party “the procedural requirement of

service of summons must be satisfied.” Omni Cap. Int’l Ltd. v. Rudolf Wolff & Co., 484 U.S. 97,

104 (1987). Because section 1608 sets out the procedures by which “service in the courts of the

United States . . . shall be made,” 28 U.S.C. § 1608(b), and because Rule 69 dictates that applicable

federal statutes govern with respect to post-judgment execution writs, as is involved here, service

under 1608 is required.




       8 Under applicable New York State law, “[a] ‘garnishee’ is a person who owes a debt to a
judgment debtor, or a person other than the judgment debtor who has property in his possession or
custody in which a judgment debtor has an interest.” N.Y. C.P.L.R. § 105(i). Plaintiff appears to
presume that PDVSA falls into the latter category.
                                                 27
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 36 of 44




    C. Requiring service of process pursuant to section 1608 accords with principles of
       international comity that ultimately benefit the people of the United States.

       Requiring service of process pursuant to section 1608 also accords with the underlying

principles of comity and predictable and friendly international relationships that are a core purpose

of the FSIA. “[T]he FSIA’s purposes include ‘promoting harmonious international relations,’ and

according foreign sovereigns treatment in U.S. courts that is similar to the treatment the United

States would prefer to receive in foreign courts.” Aquamar, S.A. v. Del Monte Fresh Produce,

N.A., Inc., 179 F.3d 1279, 1295 (11th Cir. 1999) (quoting Pere v. Nuovo Pignone, Inc., 150 F.3d

477, 480 (5th Cir. 1998)). Moreover, as the Supreme Court stated in Republic of Philippines v.

Pimentel, “‘judicial seizure’ of the property of a friendly state may be regarded as ‘an affront to

its dignity and may . . . affect our relations with it.’” 553 U.S. 851, 866 (2008) (quoting Rep. of

Mex. v. Hoffman, 324 U.S. 30, 35-36 (1945)).

       The United States has an interest in ensuring that the procedures provided under the FSIA

are followed. The United States will not appear in foreign litigation unless proper service of

process was provided consistent with principles of customary international law concerning service

on foreign states. The Department of Justice and the Department of State are unaware of any

instance similar to this one, where an execution proceeding has been successfully initiated against

assets of the United States in the absence of an underlying judgment against the United States. In

such an unusual scenario, the United States would insist on proper service of process. Thus, it is

in the interests of the United States to ensure that the FSIA is interpreted in a manner that not only

furthers U.S. reciprocal interests but is consistent with what the United States considers a rule of

customary international law concerning service of process on foreign states.

       Indeed, that is particularly true in a case like this, where a foreign state is accused of being

an “agency or instrumentality” of terrorists. Were the situation reversed, the United States would

                                                 28
           Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 37 of 44




expect service of process to be made in such a way that it would have notice of such a claim so

that it could respond accordingly, lest the United States be held to be a supporter of terrorism in a

foreign court without an ability to respond, and its assets subject to execution without an ability to

defend. Providing service of process consistent with the requirements of the FSIA is the best way

to ensure those foreign countries provide the United States the same protections it would expect in

those foreign courts.

    III.       WHILE THE UNITED STATES DOES NOT TAKE A POSITION AS TO
               WHETHER TRIA REQUIRES THAT A TERRORIST PARTY ITSELF HAVE
               AN OWNERSHIP INTEREST IN THE BLOCKED PROPERTY SUBJECT TO
               ATTACHMENT, IT DOES TAKE THE POSITION THAT TRIA DOES NOT
               APPLY TO AGENCIES OR INSTRUMENTALITIES OF STATES THAT ARE
               NOT STATE SPONSORS OF TERRORISM.

           TRIA states that “the blocked assets of th[e] terrorist party (including the blocked assets of

any agency or instrumentality of that terrorist party) shall be subject to execution or attachment in

aid of execution.” TRIA § 201(a). The United States does not take a position at this time as to

whether TRIA requires that the terrorist party itself have an ownership interest in blocked property

in question, or whether it is sufficient for the agency or instrumentality of that terrorist party to

have such an ownership interest. The United States does, however, note several factors that must

be considered in this analysis.

    A. TRIA requires an ownership interest in the property to be executed upon.

           As a starting premise, TRIA has consistently been read to authorize attachment execution

only of blocked assets that are owned by the party against whom attachment is sought, as opposed

to authorizing attachment based on some lesser degree of connection. See Heiser v. Islamic

Republic of Iran, 735 F.3d 934, 937-40 (D.C. Cir. 2013) (interpreting TRIA § 201 to require

ownership); Hausler, 770 F.3d at 212 (acknowledging that a party must have property interests in

a blocked asset before attachment would be proper, though defining the nature of those property

                                                    29
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 38 of 44




interests under state law) (citing Calderon-Cardona v. Bank of N.Y. Mellon, 770 F.3d 993, 1001

(2d Cir. 2014)); Bennett v. Islamic Republic of Iran, 825 F.3d 949, 963 (9th Cir. 2016) (court must

“determine the ownership of the assets in this context”), abrogated on other grounds by Rubin v.

Islamic Republic of Iran, 138 S. Ct. 816 (2018).9

       The courts of appeals have properly construed TRIA to include this ownership requirement.

The assets “of” an entity are not naturally understood to include all assets in which it has any

interest of any nature whatsoever. Rather, the Supreme Court has repeatedly observed that the

“use of the word ‘of’ denotes ownership.” BoBd.ard of Trs. of the Leland Stanford Junior Univ.

v. Roche Molecular Sys., Inc., 563 U.S. 776, 788 (2011) (quoting Poe v. Seaborn, 282 U.S. 101,

109 (1930); see also id. (describing Flores-Figueroa v. United States, 556 U.S. 646, 648, 657

(2009), as treating the phrase “identification [papers] of another person” as meaning such items

belonging to another person); Ellis v. United States, 206 U.S. 246, 259 (1907) (interpreting the

phrase “works of the United States” to mean “works belonging to the United States”).

       Applying that understanding of “of” to a disputed provision of patent law, the Court in

Stanford concluded that “invention owned by the contractor” or “invention belonging to the

contractor” are natural readings of the phrase “‘invention of the contractor.’” 563 U.S. at 788. In

contrast, in United States v. Rodgers, 461 U.S. 677, 692 n.18 (1983), the Court held that the IRS

could execute against property in which a tax delinquent had only a partial interest when the

relevant statute permitted execution with respect to “any property, of whatever nature, of the



       9 The United States has repeatedly filed briefs supporting this position. See, e.g., Br. for
the United States as Amicus Curiae Supporting Neither Party, Bennett v. Islamic Republic of Iran,
Nos. 13-15442, 13-16100, Dkt. No. 82, at 10-14 (9th Cir. Oct. 23, 2015); Br. for the United States
as Amicus Curiae, on Pet. For Writ of Certiorari, Bank Melli v. Bennett, No. 16-334, at 19-23 (S.
Ct. May 23, 2017).


                                                30
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 39 of 44




delinquent, or in which he has any right, title, or interest.” 26 U.S.C. § 7403(a) (emphasis added);

see also Rodgers, 461 U.S. at 692-94. The Court found it important that the statute not only

explicitly applied to the property “of the delinquent,” but also specifically referred to property in

which the delinquent “has any right, title, or interest.” See Rodgers, 461 U.S. at 692 (emphasis

removed). TRIA omits the additional phrase; it applies to the blocked assets “of” a terrorist party,”

see TRIA § 201(a).

       Moreover, while “the word [‘of’] may carry a different meaning in other[] [statutes],”

Heiser, 735 F.3d at 938, TRIA’s context supports the government’s reading. Extending this statute

beyond ownership would expand these statutes well beyond common law execution principles. It

is “basic in the common law that a lienholder enjoys rights in property no greater than those of the

debtor himself; . . . the lienholder does no more than step into the debtor’s shoes.” Rogers, 461

U.S. at 713 (Blackmun, J., concurring in part and dissenting in part); see also id. at 702 (majority

op.) (implicitly agreeing with this description of the traditional common law rule); Heiser, 735

F.3d at 938 (“a judgment creditor cannot acquire more property rights in a property than those

already held by the judgment debtor.”) (quoting 50 C.J.S. Judgments § 787 (2013)). Congress

enacted TRIA against the background of these principles, and the statute should be interpreted

consistent with those common-law precepts. See Staples v. United States, 511 U.S. 600, 605

(1994); Astoria Fed. Sav. & Loan Ass’n v. Solimino, 501 U.S. 104, 107-10 (1991).

   B. The Second Circuit’s interpretation of the “agency or instrumentality” in
      Kirschenbaum should not extend to the agencies or instrumentalities of foreign
      states that have not been designated as state sponsors of terrorism.

       Courts have held that the meaning of “agency or instrumentality” in TRIA cannot be fully

coextensive with the FSIA’s definition because TRIA’s definition of “terrorist party” encompasses

non-state actors, whereas the FSIA applies only to foreign sovereigns. For example, the Second


                                                 31
       Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 40 of 44




Circuit has cautioned that TRIA’s definition of an “agency or instrumentality” should not be read

to “require[] a foreign state principal.” Kirschenbaum., 830 F.3d at 133. In a case concerning

whether an entity holding blocked assets was the agency or instrumentality of a foreign state that

had been designated as a state sponsor of terrorism, the Kirschenbaum court granted the terms

“agency or instrumentality” their “ordinary meanings.” Id. at 135. In evaluating whether the non-

state entity acted as the “agency or instrumentality” of the designated state sponsor of terrorism,

the Second Circuit held that a plaintiff must establish that a defendant “(1) was a means through

which a material function of the terrorist party is accomplished, (2) provided material services to,

on behalf of, or in support of the terrorist party, or (3) was owned, controlled, or directed by the

terrorist party.” Id. (citing Stansell, 771 F.3d at 723); see also, e.g., Kirschenbaum v. Assa Corp.,

934 F.3d 191, 198-99 (2d Cir. 2019) (concluding that a corporation was an “agency or

instrumentality” of a designated state sponsor of terrorism because it was undisputed that the

corporation was an alter ego of the state and was “owned, controlled, and directed” by the state);

Levin v. Bank of N.Y. Mellon, No. 09-cv-5900 (JPO), 2019 WL564341, at *4 (S.D.N.Y. Feb. 12,

2019) (holding that a genuine issue of material fact existed as to whether a private individual was

an agent or instrumentality of Iran).

       Kirschenbaum arose in a different posture than is presented here. The Second Circuit had

no occasion in that case to consider whether, and under what circumstances (if any), an agency or

instrumentality of a foreign state can simultaneously be an agency or instrumentality of a non-state

terrorist entity. As discussed below, the relevant legal considerations may differ when a court is

asked to assess whether a foreign state, including its agency or instrumentality, can also act as an

agency or instrumentality of a non-state entity.




                                                   32
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 41 of 44




       First, applying Kirschenbaum’s broad definition of “agency or instrumentality” to foreign

state agencies or instrumentalities would eliminate Congress’s careful application of TRIA to state

sponsors of terrorism. In defining which kinds of “terrorist party” assets could be attached under

TRIA, Congress provided distinct categories for non-state actors (“terrorist” and “terrorist

organization”) and state actors (“a foreign state designated as a state sponsor of terrorism”). TRIA

§ 201(d)(4). Where a state is not designated as a state sponsor of terrorism, TRIA does not

authorize the attachment of a foreign state’s assets to satisfy a judgment against the foreign state.

       Second, the application of the Kirschenbaum test to foreign state agencies or

instrumentalities would cause significant international friction, because it would allow attachment

of the property of foreign states that the Executive has not determined are state sponsors of

terrorism, and would do so based on determinations about the degree of terrorism support that are

made solely by the judiciary, without consideration of the foreign policy consequences of such

determinations. Applying TRIA to the agencies or instrumentalities of foreign states based on

their having “provided material services” in support of a terrorist party or having served as “a

means through which a material function of the terrorist party is accomplished,” Kirschenbaum,

830 F.3d at 135, involves vague terms that would potentially cover a wide range of behaviors, and

thus open a broad range of state property to attachment. 10 The United States could expect

reciprocal actions in foreign countries. Given the range of U.S. activities in foreign countries and



       10  Moreover, Kirschenbaum did not clearly explain from where it defined its TRIA “agency
or instrumentality” standard. While it stated that it applied the “ordinary meanings” of “agency or
instrumentality,” Kirschenbaum, 830 F.3d at 135, the specific test it articulated was based on a cf.
citation to the Eleventh Circuit’s decision in Stansell. See Kirschenbaum, 830 F.3d at 135 n.19.
Stansell, in turn, merely cited the district court’s definition. See Stansell, 771 F.3d at 724 n.6. And
the district court, in turn, did not explain where it drew its definition of agency or instrumentality,
rather it simply articulated it, without any explanation. See Stansell v. Revolutionary Armed
Forces of Colombia (FARC), No. 8:09-cv-2308-T-26MAP, 2013 WL 12133661, at *2 (M.D. Fla.
May 2, 2013), aff’d in part and rev’d in part, 771 F.3d 713 (11th Cir. 2014).
                                                 33
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 42 of 44




the potential for U.S. entities to be accused of providing support, in some form, to groups those

countries may not support, this could significantly expand U.S. liability abroad. Indeed, the

requirement that a foreign state be designated a state sponsor of terrorism avoids this problem,

because in such a circumstance the Executive will have affirmatively decided to subject that

foreign state to potential adverse consequences, including that the foreign state’s property will be

subject to attachment under the FSIA. The Executive can consider the reciprocal implications of

such an act. But absent that determination, the expansion of Kirschenbaum could cause serious

foreign policy issues.

       Third, to the extent that this Court determines that TRIA requires only that the agency or

instrumentality of a terrorist party have an ownership interest in the assets for those assets to be

subject to execution, as opposed to the terrorist party itself having that ownership interest, it is all

the more important for Kirschenbaum’s definition of agency or instrumentality to not apply to

agencies or instrumentalities of foreign states that have not been designated as state sponsors of

terrorism. Kirschenbaum’s standard for agency or instrumentality status is relatively permissive,

requiring only the provision of “material support” to terrorists or serving as “a means through

which a material function of the terrorist party is accomplished”. Kirschenbaum, 830 F.3d at 135.

If this is applied to foreign states (including entities that meet the narrower definition of “agency

or instrumentality” under the FSIA), it would allow state assets to be attached under a broad range

of circumstances, as discussed above, without any state sponsor of terrorism requirement, in

contravention of FSIA’s targeted approach and the specific language of TRIA that references that

targeted approach (i.e., the specific reference to 28 U.S.C. § 1605A). This counsels, at a minimum,

for applying a narrow application of “agency or instrumentality” to foreign states as defined under

the FSIA. See, e.g., Griffin v. Oceanic Contractors, Inc. 458 U.S. 564, 575 (1982) (“It is true that



                                                  34
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 43 of 44




interpretations of a statute which would produce absurd results are to be avoided if alternative

interpretations consistent with the legislative purpose are available.”); Dupuch-Carron v. Sec’y of

Health & Human Servs., 969 F.3d 1318, 1330 (Fed. Cir. 2020) (“When construing a statutory term

or phrase to avoid an absurd result, or when the term or phrase is ‘ambiguous’, it ‘must be read in

its context and with a view to its place in the overall statutory scheme.’”) (quoting Colonial Press

Int’l, Inc. v. United States, 788 F.3d 1350, 1357 (Fed. Cir. 2015) (brackets omitted).

       The United States is aware that a district court in the Second Circuit cannot overturn or

ignore Kirschenbaum. However, it believes that a narrow construction is appropriate, as the

Second Circuit did not address the question of when a foreign state, as defined under the FSIA,

could be considered an agency or instrumentality of a non-state terrorist party under TRIA. For

the reasons discussed above, the broad Kirschenbaum standard for “agencies and

instrumentalities” under TRIA, which the Second Circuit determined necessary given that TRIA

extends to non-state terrorist parties, would be problematic to extend to foreign states under the

FSIA that are not designated as a state sponsor of terrorism. Indeed, the Second Circuit itself later

recognized that an overly broad construction of Kirschenbaum was not advisable.                    See

Kirschenbaum v. Assa Corp., 934 F.3d 191, 199 (2d Cir. 2019) (recognizing that “it is possible

that, if broadly construed, Kirschenbaum’s reading of TRIA could invite lawsuits against a third-

party institution, such as a bank, that had only incidental and perhaps unintentional involvement

with a terrorist party,” but declining to “balance[] these concerns” because “a terrorist party’s alter

ego cannot argue that it lacks a nexus to its principal’s wrongdoing.”).




                                                  35
        Case 1:20-mc-00040-LJV Document 125 Filed 09/20/22 Page 44 of 44




                                         CONCLUSIONS

        The United States respectfully suggests that this Court adopt the constructions of the FSIA

and TRIA set out above. The United States appreciates the opportunity to submit its views and

describe its interests in this matter.

Dated: September 20, 2022                    Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             ANTHONY J. COPPOLINO
                                             Deputy Branch Director

                                             DIANE KELLEHER
                                             Assistant Branch Director

                                             /s/ Joseph E. Borson
                                             JOSEPH E. BORSON (Va. Bar No. 85519)
                                             Trial Attorney
                                             U. S. Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L St., NW
                                             Washington, D.C. 20005
                                             Tel. (202) 514-1944
                                             Email: joseph.borson@usdoj.gov

                                             Counsel for the United States of America




                                                36
